Case:18-10965-TBM Doc#:84 Filed:04/26/18                  Entered:04/26/18 17:27:35 Page1 of 4



                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF COLORADO

       In re:                                     )
                                                  )
       11380 SMITH RD LLC                         )        Case No. 18-10965-TBM
       Tax ID / EIN: XX-XXXXXXX                   )
                                                  )        Chapter 11
                    Debtor.                       )


                   UNITED STATES TRUSTEE’S OBJECTION
                   TO DEBTOR’S DISCLOSURE STATEMENT
______________________________________________________________________________

        The United States Trustee (“UST”), by and through his undersigned counsel, hereby
objects to the adequacy of the Debtor’s Disclosure Statement, and for his Objection, the UST
states and alleges as follows:

       1.      The Debtor, 11380 Smith Rd, LLC (“Debtor”), filed a voluntary petition under
Chapter 11 of the United States Bankruptcy Code on February 13, 2018.

       2.     The UST has not appointed a trustee or an examiner in this case, nor has the UST
appointed an unsecured creditors’ committee.

       3.    The Debtor continues to manage its affairs as a debtor-in-possession pursuant to §
1107 and 1108.

       4.       The 341 Meeting was conducted on March 23, 2018.

        5.     On March 23, 2018, the Debtor filed a Disclosure Statement (Docket #54), along
with a Plan of Reorganization (Docket #53).

                                            Authority

        6.     The Bankruptcy Code, in § 1125(b), prohibits a debtor from soliciting acceptance
or rejection of a plan unless a written disclosure statement is first approved by the Court as
containing “adequate information.” 11 U.S.C. § 1125.

       7.       Section 1125 defines “adequate information,” in pertinent part, as:

       information of a kind, and in sufficient detail, as far as is reasonably practicable in
       light of the nature and history of the debtor and the condition of the debtor's books
       and records . . . that would enable such a hypothetical investor of the relevant
       class to make an informed judgment about the plan, . . . and in determining
       whether a disclosure statement provides adequate information, the court shall
       consider the complexity of the case, the benefit of additional information to
       creditors and other parties in interest, and the cost of providing additional

                                                      1
Case:18-10965-TBM Doc#:84 Filed:04/26/18                  Entered:04/26/18 17:27:35 Page2 of 4



       information.

11 U.S.C. § 1125(a)(1).

        8.      Some cases have discussed certain basic criteria that a disclosure statement should
include in order to be found to have provided adequate information. See, e.g., In re Metrocraft
Pub. Services, Inc., 39 B.R. 567 (Bankr. N.D. Ga. 1984); In re Dakota Rail, Inc., 104 B.R. 138
(Bankr. Minn. 1989); In re Scioto Valley Mortgage Co., 88 B.R. 168 (Bankr. E.D. Ohio 1988).
Ultimately, however, the determination of what is “adequate information” in a disclosure
statement is a practical and variable inquiry made on a case-by-case basis. See In re Aspen
Limousine Service, Inc., 193 B.R. 325 (D. Colo. 1996). At a minimum, the required information
should include all factors known to the plan proponent that bear upon the success or failure of
the plan. In re Stanley Hotel, Inc., 13 B.R. 926, 929-30 (Bankr. D. Colo. 1981).

       9.     The UST objects to the Disclosure Statement because it does not contain adequate
information of a kind, and in sufficient detail, to enable a reasonable investor to make an
informed decision about the Plan as further set forth below.

                                             Objections

         10.    Pre-petition Litigation (P.8, Section V.B): The Debtor references ongoing
litigation in the case of Owners Insurance Company v. 11380 East Smith Road, LLC and 355
Moline, LLC, Case No. 2017-cv-346, before the United States District Court for the District of
Colorado. The Debtor should provide additional information concerning this litigation,
including, but not limited to, the status of the litigation, the respective claims of the parties, and
any recovery the Debtor anticipates receiving as a result of the litigation.

         11.     Class 3 – Unsecured Claims (Pg.12, Section VIII(3): The Debtor provides for
payment to unsecured claims from the proceeds of a sale or refinance of certain real property,
after all costs of the sale, administrative claims, and secured claims are paid from those proceeds.
The Debtor should specifically state what distribution the unsecured claim holders can expect to
receive if the proceeds of the sale are not sufficient to pay all costs, administrative claims, and
secured claims. In addition, the Debtor should explain whether the unsecured creditors will be
entitled to any distributions under the Plan if the Debtor fails to sell or refinance its real property
interests.

       12.     Class 3 – Unsecured Claims (Pg.12, Section VIII(3): The Debtor states that
unsecured creditors will be paid from the net proceeds of the sale of its real property. The Debtor
should also state when its obligation to make those payments arises under the Plan.

       13.    Class 3 – Unsecured Claims (Pg.12, Section VIII(3): The Debtor should explain
whether the unsecured claim holders will receive any portion of funds the Debtor may recover
from accounts receivables, avoidable transfers, or litigation claims.

        14.    Administrative Expenses (P.14, Part IX): The Debtor explains that it anticipates
entering into an agreement with its attorneys to pay their allowed Chapter 11 expenses over time
following confirmation of its Plan. The Debtor should explain what source of revenue the Debtor
will use to make those payments.

       15.     Administrative Expenses (Pp.14-15, Part IX(g)): The Debtor identifies “post-

                                                      2
Case:18-10965-TBM Doc#:84 Filed:04/26/18                 Entered:04/26/18 17:27:35 Page3 of 4



petition fees and expenses, including taxes, incurred by the Debtor’s bankruptcy estate in the
ordinary operation and management of the Debtor’s business and/or financial affairs” as an
administrative expense subject to priority treatment under 11 U.S.C. § 503(b). The Debtor should
further identify the types of “fees and expenses,” other than taxes, that it considers to be included
in this category of administrative expense, and should further state the legal standard for
including those fees and expenses as administrative expenses under 11 U.S.C. § 503(b).

        16.     Discharge (P.21, Part XII): The Debtor asserts that it will receive a discharge in
this case. The Debtor filed this case as a “single asset real estate” case, as defined by 11 U.S.C. §
101(51B). The sole objective of the Debtor’s proposed plan is to sell its sole interest in real
estate. Accordingly, the Debtor should explain why it is not prohibited from receiving a
discharge pursuant to 11 U.S.C. § 1141(d)(3) as it appears the Debtor is liquidating all or
substantially all of its assets, will not continue to engage in business after the consummation of
the plan, and would not be entitled to a discharge under 11 U.S.C. § 727(a).

       WHEREFORE, the UST objects to the Disclosure Statement for the reasons set forth
above, and requests such other relief as the Court deems just and proper under the circumstances.

Dated: April 26, 2018.                            Respectfully submitted,

                                                  PATRICK S. LAYNG
                                                  UNITED STATES TRUSTEE

                                                  /s/ R. Samuel Boughner
                                                  By: R. Samuel Boughner, #AR#2010272
                                                  Trial Attorney for the U.S. Trustee
                                                  1961 Stout Street, Suite 12-200
                                                  Denver, CO 80294
                                                  (303) 312-7252
                                                  (303) 312-7259 fax
                                                  Samuel.Boughner@usdoj.gov




                                                     3
Case:18-10965-TBM Doc#:84 Filed:04/26/18              Entered:04/26/18 17:27:35 Page4 of 4




                                   CERTIFICATE OF SERVICE

        I hereby certify that on the date set forth below a copy of the UNITED STATES
TRUSTEE’S OBJECTION TO DEBTOR’S DISCLOSURE STATEMENT was served on
the following parties in compliance with the Federal Rules of Bankruptcy Procedure and the
Court’s Local Rules:

Dated: April 26, 2018.

11380 Smith Rd, LLC
11380 Smith Rd
Aurora, CO 80010

Jeffrey Weinman, via CM/ECF

Scott C. James, via CM/ECF

Timothy M. Swanson, via CM/ECF

Douglas W. Brown, via CM/ECF

All parties in interest who have requested notice pursuant to the CM/ECF system.


                                               /s/ R. Samuel Boughner
                                               Office of the United States Trustee




                                                  4
